          Case 2:02-cr-00192-JCC         Document 511         Filed 04/06/06      Page 1 of 3




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04

05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )            CASE NO. CR02-192-JCC
                                          )
08         Plaintiff,                     )
                                          )
09         v.                             )            SUMMARY REPORT OF U.S.
                                          )            MAGISTRATE JUDGE AS TO
10   KRISTIN M. CRESPIN,                  )            ALLEGED VIOLATIONS
                                          )            OF SUPERVISED RELEASE
11         Defendant.                     )
     ____________________________________ )
12

13         An evidentiary hearing on supervised release revocation in this case was scheduled before

14 me on April 6, 2006. The United States was represented by AUSA Sarah Vogel and the defendant

15 by Walter Palmer. The proceedings were digitally recorded.

16         Defendant had been sentenced on or about June 27, 2003 by the Honorable John C.

17 Coughenour on a charge of Foreign and Interstate Travel in Aid of a Racketeering Enterprise, and

18 sentenced to 7 days custody, 3 years supervised release.

19         The conditions of supervised release included the standard conditions plus the requirements

20 that defendant not possess any firearms, participate in mandatory drug testing and narcotic

21 addiction/drug dependency treatment, abstain from the use of alcohol, submit to search, provide

22 access to financial information, obtain approval for employment from probation officer, not work


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -1
           Case 2:02-cr-00192-JCC        Document 511         Filed 04/06/06      Page 2 of 3




01 for cash, provide pay stubs to probation officer, and six months of home detention. (Dkt. 291,

02 311).

03          On November 14, 2003, defendant’s probation officer reported that she had violated the

04 terms of supervised release by using cocaine. She was reprimanded, put in a structured testing

05 program, referred for a professional assessment, counseling and an intensive outpatient treatment

06 program. No further action was taken at the time. (Dkt. 343).

07          On January 8, 2004, the defendant admitted to violating the conditions of supervised

08 release by using cocaine on August 6, 2003, October 16, 2003, and December 11, 2003. (Dkt.

09 365). The court continued the defendant on supervised release. (Dkt. 419).

10          In an application dated March 10, 2006 (Dkt 505), U.S. Probation Officer Michael J.

11 Larson alleged the following violations of the conditions of probation:

12          1.     Failing to notify the probation officer within seventy-two hours of being arrested

13 or questioned by a law enforcement officer on September 16, 2005 and November 6, 2005 in

14 violation of standard condition number eleven.

15          2.     Failing to submit a truthful and complete written report within the first five days

16 of each month for February 2006, in violation of standard condition number two.

17          3.     Consuming alcohol on or about March 8, 2006 in violation of the special condition

18 requiring that she abstain from the use of alcohol and/or other intoxicants during her term of

19 supervised release.

20          4.     Driving Under the Influence on or about March 8, 2006 in violation of Section

21 46.61.502 of the Revised Code of Washington; and the mandatory condition requiring she not

22 commit another federal, state or local crime.


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -2
           Case 2:02-cr-00192-JCC         Document 511        Filed 04/06/06      Page 3 of 3




01          5.       Recklessly Driving on or about March 8, 2006 in violation of Section 46.61.500

02 of the Revised Code of Washington and the mandatory condition requiring she not commit another

03 federal, state or local crime.

04          6.       Obstructing a Law Enforcement Officer on or about March 8, 2006 in violation of

05 Section 9A.76.020 and the mandatory condition requiring she not commit another federal, state

06 or local crime.

07          7.       Resisting Arrest on or about March 8, 2006 in violation of Section 9A.76.040 or

08 the Revised Code of Washington, and the mandatory condition requiring she not commit another

09 federal, state or local crime.

10          Defendant was advised in full as to those charges and as to her constitutional rights.

11          Defendant admitted the alleged violations and waived any evidentiary hearing as to

12 whether they occurred.

13          I therefore recommend the Court find defendant violated her supervised release as alleged,

14 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

15 set before Judge Coughenour.

16          Pending a final determination by the Court, defendant has been detained.

17          DATED this 6th day of April , 2006.

18
                                                  A
                                                  Mary Alice Theiler
19                                                United States Magistrate Judge

20
     cc:    District Judge:                Honorable John C. Coughenour
21          AUSA:                          Sarah Vogel
            Defendant’s attorney:          Walter Palmer
            Probation officer:             Michael J. Larson
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -3
